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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     Amber Cullen, et al.,              )           SACV 12-01125-JVS(ANx)
11                                      )
                                        )           ORDER OF DISMISSAL UPON
12              Plaintiff,              )
                                        )           SETTLEMENT OF CASE
13         v.                           )
                                        )
14   Kohl’s Department Stores, Inc., et )
     al.,                               )
15                                      )
                Defendant(s).           )
16                                      )
     ______________________________ )
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18         The Court having been advised by the counsel for the parties that the above-
19   entitled action has been settled,
20      IT IS ORDERED that this action be and is hereby dismissed in its entirety without
21   prejudice to the right, upon good cause being shown within 30 days, to reopen the
22   action if settlement is not consummated.
23
24   DATED: May 31, 2013
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25                                                   James V. Selna
                                                  United States District Judge
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